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                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA


ABBY OWENS, ET AL.                                  CIVIL ACTION

VERSUS                                              NO. 21-242-WBV-SDJ

LOUISIANA STATE UNIVERSITY, ET AL.

                                      ORDER

      Before the Court are twelve motions to dismiss filed pursuant to Fed. R .Civ.

P. 12(b)(6), in which various defendants seek the dismissal of some, or all, of

Plaintiffs’ claims asserted in the Amended Class Action Complaint and Jury Demand.

(R. Docs. 107, 110, 113, 127, 128, 141, 142, 143, 144, 145, 148, 149). Also before the

Court is a Motion for Judgment on the Pleadings, filed pursuant to Fed. R. Civ. P.

12(c), in which some defendants seek judgment on all cases of action asserted in the

Amended Class Action Complaint and Jury Demand (R. Doc. 140).

      In light of the Second Amended Complaint and Jury Demand, filed on January

17, 2022 (R. Doc. 182), IT IS HEREBY ORDERED that the twelve motions to

dismiss (R. Docs. 107, 110, 113, 127, 128, 141, 142, 143, 144, 145, 148, 149) and the

Motion for Judgment on the Pleadings (R. Doc. 140) are DENIED WITHOUT

PREJUDICE.

      New Orleans, Louisiana, January 19, 2022.




                                    ____________________________________
                                    WENDY B. VITTER
                                    UNITED STATES DISTRICT JUDGE
